Case 1:20-cv-24239-DLG Document 21 Entered on FLSD Docket 12/29/2020 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 20-cv-24239-GRAHAM/MCALILEY

  BARBARA ALVAREZ FUENTES,

         Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

        Defendant.
  _____________________________________/

                      ORDER SETTING SETTLEMENT CONFERENCE

        Pursuant to the Order of Reference entered by United States District Judge Donald L.

 Graham, (ECF No. 15), a Settlement Conference in this matter is scheduled to be held before

 the undersigned, commencing at 10:30 a.m. on January 20, 2021, via ZoomGov. Chambers

 of the undersigned will provide the ZoomGov connection information to counsel of record by

 electronic mail to the addresses set forth on the docket of this action. Failure to appear on

 time may result in the imposition of monetary sanctions.

         1.      No later than five days before the settlement conference, counsel must speak

  by telephone or in person and identify any factual issues that need further development,

  and make every effort to exchange additional requested information. The Court expects

  the parties to arrive at the conference prepared to engage in fruitful settlement

  discussions.

         2.      The Settlement Conference shall be attended by all parties, corporate

  representatives, and their counsel of record. Each side shall have a party representative present

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Case 1:20-cv-24239-DLG Document 21 Entered on FLSD Docket 12/29/2020 Page 2 of 2




  with full authority to negotiate and finalize any settlement agreement reached. Failure of a

  party representative with full and final authority to make and accept offers of settlement to

  attend this conference may result in the undersigned’s sua sponte recommendation that

  sanctions be entered against the offending party.

         3.     In the event that a monetary settlement would be payable from proceeds of an

  insurance policy, a claims professional/representative(s) from the party’s insurer with full and

  final authority to authorize payment to settle the matter up to the full limits of the party’s

  policy(s) or the most recent demand, whichever is lower, shall also be present.

         4.     The Conference will not be continued absent a written motion and a showing of

  compelling circumstances.

         5.     In the event this matter settles prior to the Conference, the parties shall

  immediately advise the undersigned’s chambers.

         6.     The Conference shall be conducted without a court reporter and will not be tape

  recorded. All representations and statements made at the Conference shall remain confidential.

         7.     The parties shall take note that in civil actions the Court does not provide an

  interpreter for parties who do not speak English. In the event that a party requires an interpreter,

  it shall be that party’s burden to provide one.

         DONE and ORDERED in Miami, Florida this 29th day of December 2020.



                                        _______________________________________
                                        CHRIS McALILEY
                                        UNITED STATES MAGISTRATE JUDGE




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